                                           Ex. NFiled 04/24/23 Page 1 of 4
         Case 1:21-mi-55555-JPB Document 535-16

      ZACHARY MANIFOLD                                           January 12, 2023
      UNITED STATES vs THE STATE OF GEORGIA                                     1

·1· · · · · · · IN THE UNITED STATES DISTRICT COURT
· · · · · · · · FOR THE NORTHERN DISTRICT OF GEORGIA
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·5·   ·IN RE· · · · · · · · · · · · ·)
· ·   · · · · · · · · · · · · · · · ·)
·6·   · · GEORGIA SENATE BILL 202· · )
· ·   · · · · · · · · · · · · · · · ·)
·7·   · · · · · Plaintiff,· · · · · ·)
· ·   ·vs.· · · · · · · · · · · · · ·) Civil Action No.
·8·   · · · · · · · · · · · · · · · ·) 1:21:MI-55555-JPB
· ·   · · · · · · · · · · · · · · · ·)
·9·   · · · · · Defendants.· · · · · )
· ·   · · · · · · · · · · · · · · · ·)
10·   ·- - - - - - - - - -· - - - - -)

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12· · · · · · · · · · VIDEOTAPE DEPOSITION OF

13· · · · · · · · · · · ·ZACHARY MANIFOLD

14

15· · · · · ·Thursday, January 12, 2023, 9:46 a.m.(EST)

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20· · · · · ·HELD AT:

21
· ·   · · · · · · Justice Administration Center
22·   · · · · · · 75 Langley Drive, Room C, 2nd Floor
· ·   · · · · · · Lawrenceville, Georgia· 30046
23
· ·   · · · ---------------------------------------------
24·   · · · · ·WANDA L. ROBINSON, CRR, CCR, No. B-1973
· ·   · · · ·Certified Shorthand Reporter/Notary Public
25


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·1· · · · A· · They are.
·2· · · · Q· · And these non-issuing clerks, do they also
·3· ·monitor lines for electioneering activities?
·4· · · · A· · They do.· I cannot recall of any instance
·5· ·this year where I had a report of a problem.
·6· · · · Q· · With the non-issuing clerks, how would
·7· ·they monitor the line if a person is providing line
·8· ·relief inside of the 150 foot electioneering zone?
·9· · · · A· · If they're inside of 150 feet, they would
10· ·let that person know they cannot be there inside
11· ·that 150 feet.
12· · · · Q· · And to your knowledge, would monitoring
13· ·the lines be any different if a person was providing
14· ·line relief in the supplemental zone?
15· · · · A· · I -- you know, there is the supplemental
16· ·zone, and now I can't remember -- I remember it
17· ·changed.· I remember there was guidance at some
18· ·point.· Maybe some time this year there was guidance
19· ·on the buffer zone or the supplemental zone outside
20· ·of 150 feet.
21· · · · · · ·I cannot, without looking at it or reading
22· ·it, I can't remember what all that entailed, but
23· ·there was some guidance on that.
24· · · · Q· · Is it common for lines to extend past the
25· ·150 foot zone?


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·1· · · · A· · At advance -- at advance in person voting,
·2· ·that is somewhat common.· I would say, again, when
·3· ·you get over that hour, that hour wait, you're
·4· ·probably getting pretty close to that 150 buffer
·5· ·zone.
·6· · · · · · ·So I would say most of the time --
·7· ·probably for the December runoff it could have been
·8· ·outside that, outside that zone.· Most of the time,
·9· ·I think May, June, and November, like I said, I
10· ·don't think we had an hour long wait most places, so
11· ·it was probably not that 150 feet.
12· · · · Q· · Do you recall if during the December 2022
13· ·runoff if those lines went beyond the 150 feet?
14· · · · A· · Definitely.
15· · · · Q· · And you mentioned before that Kelvin
16· ·Williams may know what the policy for line relief
17· ·was prior to SB 202; is that correct?
18· · · · A· · He would know, yes.
19· · · · Q· · Okay.· If the ban relief -- a ban on line
20· ·relief activities in SB 202 was lifted, what
21· ·changes, if any, would your office have to engage
22· ·in?
23· · · · A· · If there was a removal of that?
24· · · · Q· · Yes.
25· · · · A· · You know, I think staff would -- I think


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·1· · · · · · · · · · · C E R T I F I C A T E

·2

·3· ·STATE OF GEORGIA:

·4· ·FULTON COUNTY:

·5

·6· · · · · · · I hereby certify that the foregoing

·7· ·transcript of ZACHARY MANIFOLD was taken down, as

·8· ·stated in the caption, and the questions and answers

·9· ·thereto were reduced by stenographic means under my

10· ·direction;

11· · · · · · ·That the foregoing Pages 1 through

12· ·192 represent a true and correct transcript of

13· ·the evidence given upon said hearing;

14· · · · · · ·And I further certify that I am not of kin

15· ·or counsel to the parties in this case; am not in

16· ·the regular employ of counsel for any of said

17· ·parties; nor am I in anywise interested in the

18· ·result of said case.

19

20· · · · · IN WITNESS WHEREOF, I have hereunto

21· ·subscribed my name this 20th day of January, 2023.

22

23· · · · · · ·_____________________________________

24· · · · · · ·Wanda L. Robinson, CRR, CCR No. B-1973
· · · · · · · · · My Commission Expires 10/11/2023
25


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